       Case 4:05-cr-00648-MJJ        Document 27       Filed 12/23/05    Page 1 of 3




 1   BARRY J. PORTMAN
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 2   JOHN PAUL REICHMUTH
     JOYCE LEAVITT
 3   Assistant Federal Public Defenders
     555 12th Street, Suite 650
 4   Oakland, CA 94607-3627

 5   Counsel for Defendant FRAZIER

 6

 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                             )
12                                                         )   No. CR 05-00648 MJJ [WDB]
                                Plaintiff,                 )
13
                                                           )   STIPULATION AND [PROPOSED]
14            v.                                           )   ORDER MODIFYING CONDITIONS
                                                           )   OF RELEASE
15   MAURICE FRAZIER,                                      )
                                                           )
16                                                         )
17                            Defendant.                   )

18

19         IT IS HEREBY STIPULATED, by and between the parties to this action, that the conditions
20
     of release for Maurice Frazier may be modified to allow him to leave Cornell Corrections, Inc., in
21
     Oakland, California, where he is currently residing, on Sunday, December 25, 2005, between the
22

23   hours of 8:00 a.m. and 6:00 p.m., to spend the holiday with his mother, Rosalind Randle, at 1926

24   Chestnut Street, Oakland, CA 94607.
25   ///
26
     ///

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       Case 4:05-cr-00648-MJJ   Document 27    Filed 12/23/05   Page 2 of 3




 1
                                              /S/
 2   DATED: 12/23/05                    _______________________________
 3                                      JOYCE LEAVITT
                                        Assistant Federal Public Defender
 4
                                              /S/
 5 DATED: 12/23/05                     _________________________________
 6                                     CANDICE JAN
                                       Assistant United States Attorney
 7
                                              /S/
 8
     DATED: 12/23/05                   _________________________________
 9                                     BETTY KIM
                                       Pretrial Services Officer
10

11
     I hereby attest that I have on file all holograph signatures for any signatures
12
     indicated by a “conformed” signature (/S/) within this efiled document.
13

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        Case 4:05-cr-00648-MJJ          Document 27   Filed 12/23/05                       Page 3 of 3




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 5
   Counsel for Defendant FRAZIER
 6

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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                                )
12                                                            )         No. CR 05-00648 MJJ [WDB]
                                  Plaintiff,                  )
13
                                                              )         [PROPOSED] ORDER MODIFYING
14           v.                                               )         CONDITIONS OF RELEASE
                                                              )
15 MAURICE FRAZIER,                                           )
                                                              )
16                                                            )
17                              Defendant.                    )

18
          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the conditions of release for
19

20 Maurice Frazier may be modified to allow him to leave Cornell Corrections, Inc., in Oakland,
21 California, where he is currently residing, on Sunday, December 25, 2005, between the hours of
22 8:00 a.m. and 6:00 p.m., to spend the holiday with his mother, Rosalind Randle, at 1926 Chestnut

23                                                                     S DISTRICT
     Street, Oakland, CA 94607.                                      TE           C
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                                                             ED




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                                                                          TED
                                                         UNIT




     DATED: December 23, 2005                  _____________________________________
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                                               ELIZABETH D. LAPORTE
                                               United States Magistrate        Laporte
                                                                        beth D.Judge
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